Case 2:19-cr-20024-GAD-EAS ECF No. 29 filed 06/18/19      PageID.117   Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,               HON. GERSHWIN A. DRAIN
v.                                          CASE NO.: 19-CR-20024

D-1 NAVEEN PRATHIPATI,

                   Defendant.         /


     DEFENDANT NAVEEN PRATHIPATI’S SENTENCING MEMORANDUM

      NOW COMES, Defendant Naveen Prathipati, by and through counsel, who

submits this Sentencing Memorandum in an effort to urge this Court to grant a

variance from the applicable guidelines. The guideline range said is 18 to 24

months.

I.    Background and Characteristics of Naveen Prathipati - 18 U.S.C.
      §3553(a)(1)

      Defendant acknowledges the accuracy of the personal family data set forth

in the Presentence Investigation Report.     However, as the Court considers a

sentence that is sufficient but not greater than necessary, Mr. Prathipati asks

that the Court pay particular attention to the following characteristics:

          A. Mr. Prathipati is 26 years old single Indian male from Guntur, India.

             The Presentence Reports indicated that he is Asian which would be

             incorrect.    When Naveen came to this country he had hardly no

             family nor friends but was able to go to school full time and hold

             steady employment.
Case 2:19-cr-20024-GAD-EAS ECF No. 29 filed 06/18/19         PageID.118   Page 2 of 3



            B. It was the Government that encouraged Mr. Prathipati to enroll in

              their fictional school and employment.       Because of his financial

              status and plans for marriage, Naveen was extremely vulnerable to

              the Government’s scheme and accepted their terms and conditions.

            C. Naveen has lost everything because of this case including his

              freedom. He has been incarcerated in St. Clair County for 6 months.

              He has had no visitation except from his Attorney thus living in

              virtual isolation. He has lost his employment and car that he had

              purchased. He has lost the respect of his family and his marriage

              has been cancelled by the bride’s family. He will return to India

              broke and in disgrace.

      II.     Conclusion

      We are requesting this Honorable Court to sentence Mr. Prathipati to time

served.

                                                Respectfully submitted,

                                                /s/ WRIGHT W. BLAKE
                                                WRIGHT W. BLAKE (P37259)
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                                       Page 2 of 3
Case 2:19-cr-20024-GAD-EAS ECF No. 29 filed 06/18/19       PageID.119    Page 3 of 3



                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,                 HON. GERSHWIN A. DRAIN
v.                                            CASE NO.: 19-CR-20024

D-1 NAVEEN PRATHIPATI,

                   Defendant.         /


                           CERTIFICATE OF SERVICE

      This is to certify that Defendant Naveen Prathipati’s Sentencing
Memorandum and Certificate of Service have been electronically filed with the
Clerk of the Court on June 18, 2019. Notice of this filing is sent to all parties by
operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s ECF System.

                                              Respectfully submitted,

                                              /s/LESLIE BOWMAN
                                              LESLIE BOWMAN




                                     Page 3 of 3
